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 4
     Attorneys for Plaintiff
 5   ROTHSCHILD BROADCAST DISTRIBUTION SYSTEMS, LLC, a Texas limited liability
     corporation
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 7
                                  UNITED STATES DISTRICT COURT
 8                              NORTHERN DISTRICT OF CALIFORNIA
                                     SAN FRANCISCO DIVISION
 9
                                                           PATENT
10   ROTHSCHILD BROADCAST
11   DISTRIBUTION SYSTEMS, LLC,                            Case No. ______________

12                           Plaintiff,                    ORIGINAL COMPLAINT FOR
          v.                                               PATENT INFRINGEMENT
13                                                         AGAINST NEST LABS, INC.
     NEST LABS, INC.,
14                                                         DEMAND FOR JURY TRIAL
15                           Defendant.

16             Plaintiff Rothschild Broadcast Distribution Systems, LLC (“Plaintiff” or “Rothschild

17   Broadcast Distribution Systems”) files this complaint against Defendant Nest Labs, Inc
18
     (“Defendant” or “Nest labs”) for infringement of U.S. Patent No. 8,856,221 (hereinafter the
19
     “`221 Patent”) and alleges as follows:
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21
                                                  PARTIES
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23   1.        Plaintiff is a Texas limited liability company with an office at 1400 Preston Road, Suite

24   400, Plano, Texas 75093.
25   2.        On information and belief Defendant Nest Labs, Inc. (“Nest Labs”) is a corporation
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     organized and existing under the laws of the state of Delaware, with its principal place of
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 1   business at 3400 Hillview Avenue, Palo Alto, California 94304. Upon information and belief,
 2   Defendant mat be served with process at the same address.
 3
                                      JURISDICTION AND VENUE
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     3.      This action arises under the patent laws of the United States, 35 U.S.C. § 271 et seq.
 5
     Plaintiff is seeking damages, as well as attorney fees and costs.
 6

 7   4.      Jurisdiction is proper in this Court pursuant to 28 U.S.C. §§ 1331 (Federal Question) and

 8   1338(a) (Patents).

 9   5.      On information and belief, this Court has personal jurisdiction over Defendant because
10   Defendant has committed, and continues to commit, acts of infringement in this District, has
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     conducted business in this District, and/or has engaged in continuous and systematic activities in
12
     this District.
13
     6.      Upon information and belief, Defendant’s instrumentalities that are alleged herein to
14

15   infringe were and continue to be used, imported, offered for sale, and/or sold in the District.

16   7.      Venue is proper in this District under 28 U.S.C. §1400(b) because acts of infringement

17   are occurring in this District and Defendant has a regular and established place of business in this
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     District.
19
                                             BACKGROUND
20
     8.      On October 7, 2014, the United States Patent and Trademark Office (“USPTO”) duly and
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     legally issued the `221 Patent, entitled “System and Method for Storing Broadcast Content in an
22

23   Cloud-Based Computing Environment” after the USPTO completed a full and fair examination.

24   The ‘221 Patent is attached as Exhibit A.
25   9.      Rothschild Broadcast Distribution Systems is currently the owner of the `221 Patent,
26
     having received all right, title and interest in, and to, the `221 Patent from the previous assignee
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     of record.
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 1   10.       Rothschild Broadcast Distribution Systems possesses all rights of recovery under the
 2   `221 Patent, including the exclusive right to recover for past, present and future infringement.
 3
     11.       The `221 Patent contains thirteen claims including two independent claims (claims 1 and
 4
     7) and eleven dependent claims.
 5
                                              COUNT ONE
 6                          (Infringement of United States Patent No. 8,856,221)
 7
     12.       Plaintiff refers to and incorporates the allegations in Paragraphs 1 - 11, the same as if set
 8
     forth herein.
 9
     13.       This cause of action arises under the patent laws of the United States and, in particular
10

11   under 35 U.S.C. §§ 271, et seq.

12   14.       Defendant has knowledge of its infringement of the `221 Patent, at least as of the service

13   of the present complaint.
14   15.       Upon information and belief, Defendant has infringed and continues to infringe one or
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     more claims, including at least Claim 1, of the ‘221 Patent by making, using, importing, selling,
16
     and/or offering for media content storage and delivery systems and services covered by one or
17
     more claims of the ‘221 Patent.
18

19   16.       Accordingly, Defendant has infringed, and continues to infringe, the `221 Patent in

20   violation of 35 U.S.C. § 271.

21   17.       Defendant sells, offers to sell, and/or uses media content storage and delivery systems
22
     and services, including, without limitation, Nest security cameras together with the Nest system
23
     and Nest app, and any similar products (“Product”), which infringes at least Claim 1 of the ‘221
24
     Patent.
25
     18.       The Product practices a method of storing (e.g. cloud storage) media content (e.g. live
26
27   and recorded video) and delivering requested media content (e.g. view live footage and recorded

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 1   clips) to a consumer device. Certain aspects of these elements are illustrated in the screen shots
 2   below and/or in screen shots provided in connection with other allegations herein.
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24   19.     The defendant’s Product necessarily includes at least one server for hosting and storing
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     media content for customers. For example, the Product necessarily includes at least one server
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     (e.g. cloud server) to store recorded security videos.
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 1   20.     The at least one server necessarily includes a first receiver configured to receive a request
 2   message including data indicating requested media content (e.g., the server must have
 3
     infrastructure to receive a request to store recorded security videos or to stream recorded video
 4
     on a smartphone; additionally, the request message must contain data that identifies the video to
 5
     be stored or streamed) and a consumer device identifier corresponding to a consumer device
 6

 7   (e.g., the user credentials are used to tie a smartphone and user account to particular cameras and

 8   the videos they produce). In the accused product, the cloud services (including camera view from

 9   cloud) can be accessed from web/mobile application (e.g. Nest app) by signing in with correct
10   credentials. Certain aspects of these elements are illustrated in the screen shots below and/or in
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     screen shots provided in connection with other allegations herein.
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     21.     The Product necessarily includes a processor to determine whether the consumer device
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     identifier corresponds to the registered consumer device (e.g., the server must authenticate a
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     user’s credentials to ensure that the credentials match those registered with a security camera
15

16   which the user would like to access). In the accused product, a user must be a registered user to

17   access Nest cloud services. Certain aspects of these elements are illustrated in the screen shot

18   below and/or in screen shots provided in connection with other allegations herein.
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27   22.     The Product provides for both media downloads and/or storage, and media streaming. As

28   per the information available, after successful login, a processor within the Product necessarily
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 1   determines whether the request received from a customer is a request for storage (e.g., recording
 2   or storing content) or content (e.g., streaming of media content, live view). Certain aspects of
 3
     these elements are illustrated in the screen shot below and/or in screen shots provided in
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     connection with other allegations herein.
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 8   23.      The server verifies that media content identified in the media (e.g., specific recording

 9   from a specific camera) data of the storage request message (e.g., request to record content) is
10   available for storage in order to prevent data errors that would result from attempting to store
11
     content that is not available for storage (e.g. the server must verify that a particular security
12
     camera is adequately connected to the internet as to allow for video recording and storage on the
13
     cloud; additionally, a user’s ability to store video is limited to a certain amount of memory usage
14

15   based upon their subscription, thus media content may not be available for storage if a user is

16   already above their memory limit or if he hasn’t subscribed to any service). A user can also

17   schedule the recording as per his requirement, only the events happened in between the
18   scheduled time will be eligible to be recorded on the clouds storage. Certain aspects of these
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     elements are illustrated in the screen shot below and/or in screen shots provided in connection
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     with other allegations herein.
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27   24.     If a customer requests content (e.g., live streaming of media content), then a processor

28   within the Product necessarily initiates delivery of the content to the customer’s device. The
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 1   server will initiate delivery of the requested media content to the consumer device (e.g., stream
 2   live camera feed to a smartphone or tablet or desktop computer) if the request message is a
 3
     content request message (e.g., request for live streaming). Certain aspects of these elements are
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     illustrated in the screen shots below and/or in screen shots provided in connection with other
 5
     allegations herein.
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     25.     The media data includes time data that indicates a length of time to store the requested
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     media content (e.g., a user is allowed to store videos for maximum of 30 days as based upon
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     their subscription level). Certain aspects of these elements are illustrated in the screen shots
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17   below and/or in screen shots provided in connection with other allegations herein.

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10   26.      The server must first determine whether the requested media content exists prior to

11   initiating delivery in order to prevent data errors that would result from attempting to transmit

12   media content that does not exist (e.g. the server must verify that a particular security camera is
13   adequately connected to the internet as to allow for video recording and streaming). Certain
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     aspects of these elements are illustrated in the screen shots below and/or in screen shots provided
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     in connection with other allegations herein.
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28   27.      After the processor determines whether the requested media content is available, it
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 1   determines whether there are restrictions associated with the requested media content (e.g.,
 2   subscription level etc.).
 3
     28.      Defendant’s actions complained of herein will continue unless Defendant is enjoined by
 4
     this Court.
 5
     29.       Defendant’s actions complained of herein is causing irreparable harm and monetary
 6

 7   damage to Plaintiff and will continue to do so unless and until Defendant is enjoined and

 8   restrained by this Court.

 9   30.      Upon information and belief, Defendant has induced, and continues to induce infringement
10   of the `221 Patent through its customers’ actions, at least as of the service of the present
11
     complaint.
12
     31.      The `221 Patent is valid, enforceable, and was duly issued in full compliance with Title 35
13
     of the United States Code.
14

15   32.      A copy of the ‘221 Patent, titled “System and Method for Storing Broadcast Content in a

16   Cloud-based Computing Environment,” is attached hereto as Exhibit A.

17   33.      By engaging in the conduct described herein, Defendant has injured Rothschild Broadcast
18
     Distribution Systems and is thus liable for infringement of the `221 Patent, pursuant to 35 U.S.C.
19
     § 271.
20
     34.       Defendant has committed these acts of literal infringement, or infringement under the
21
     doctrine of equivalents of the `221 Patent, without license or authorization.
22

23   35.      As a result of Defendant’s infringement of the `221 Patent, injured Rothschild Broadcast

24   Distribution Systems has suffered monetary damages and is entitled to a monetary judgment in
25   an amount adequate to compensate for Defendant’s past infringement, together with interests and
26
     costs.
27
     36.      Plaintiff is in compliance with 35 U.S.C. § 287.
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 1   37.     As such, injured Rothschild Broadcast Distribution Systems is entitled to compensation for
 2   any continuing and/or future infringement of the `221 Patent up until the date that Defendant
 3
     ceases its infringing activities.
 4
                                         DEMAND FOR JURY TRIAL
 5
     38.         Rothschild Broadcast Distribution Systems, under Rule 38 of the Federal Rules of Civil
 6

 7   Procedure, requests a trial by jury of any issues so triable by right

 8                                           PRAYER FOR RELIEF

 9               WHEREFORE, Plaintiff asks the Court to:
10         (a)    Enter judgment for Plaintiff on this Complaint on all cases of action asserted herein;
11
           (b) Enter an Order enjoining Defendant, its agents, officers, servants, employees, attorneys,
12
           and all persons in active concert or participation with Defendant who receives notice of the
13
           order from further infringement of United States Patent No. 8,856,221 (or, in the alternative,
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15         awarding Plaintiff running royalty from the time judgment going forward);

16         (c) Award Plaintiff damages resulting from Defendants infringement in accordance with 35

17         U.S.C. § 284;
18
           (d) Award Plaintiff such further relief to which the Court finds Plaintiff entitled under law
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           or equity
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